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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

JOE ANDREW SALAZAR,

               Plaintiff,
                                                      Civil Action No. 2:16-cv-01096-JRG-RSP
       v.
                                                           JURY TRIAL DEMANDED
HTC CORPORATION,                                               PATENT CASE

               Defendant.



                 THIRD SUPPLEMENT TO THE PARTIES PROPOSED
                         JOINT FINAL PRETRIAL ORDER


       Defendant HTC Corporation (“HTC Corp.”) files the following updated exhibits to the

Joint Proposed Final Pretrial Order (Dkt. 219):

       Ex. B – HTC Corporation’s Updated Trial Witness List

       Ex. F – Salazar’s Updated Deposition Designations and HTC Corporation’s Objections

and Counter Deposition Designations.




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      Dated: May 4, 2018                  Respectfully submitted by,


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                               CERTIFICATE OF SERVICE

       The undersigned certifies that all counsel of record who have deemed to have consented

to electronic service are being served on May 4, 2018, with a copy of the foregoing document via

the Court’s CM/ECF system pursuant to Local Rule CV-5(a)(3).



                                                   /s/ Fred I. Williams_______________
                                                   Fred I. Williams




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